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 4
     Attorney for Defendant
 5   JOSE COBIAN
 6
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8
 9
10 UNITED STATES OF AMERICA,
                                                           Case No. 2:09-cr-0501 WBS
11                    Plaintiff,

12 v.
                                                           STIPULATION AND ORDER TO
13                                                         CONTINUE STATUS CONFERENCE
     JOSE COBIAN, et al.
14
                      Defendant.
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17
18                                                 STIPULATION
19             Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Jill Thomas, defendant, Gerardo Rangel, by and through his counsel, Clemente M.
21   Jimenez, defendant Rafael Aguilar, by and through his counsel, Timothy E. Warriner, and
22   defendant, Jose Cobian, by and through his counsel, Erin J. Radekin, agree and stipulate to vacate
23   the date set for status conference, May 16, 2011 at 8:30 a.m., and to continue the status conference
24   until June 6, 2011 at 8:30 a.m., in the courtroom of the Honorable William B. Shubb.
25             The reason for this request is that the parties are still engaged in plea negotiations and other
26   case preparation. The Court is advised that Ms. Thomas, Mr. Jimenez, and Mr. Warriner concur
27   with the request for a continuance and have authorized Ms. Radekin to sign this stipulation on their
28   behalf.
               The parties further agree and stipulate that the time period from the filing of this stipulation
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 1   until June 6, 2011 should be excluded in computing time for commencement of trial under the
 2   Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 3   Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 4   preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 5   outweigh the best interests of the public and the defendant in a speedy trial.
 6          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 7   IT IS SO STIPULATED
 8   Dated: May 13, 2011                                      BENJAMIN WAGNER
                                                              United States Attorney
 9
                                                       By:           /s/ Jill Thomas
10                                                            JILL THOMAS
                                                              Assistant United States Attorney
11
12   Dated: May 13, 2011                                            /s/ Clemente M. Jimenez
                                                              CLEMENTE M. JIMENEZ
13                                                            Attorney for Defendant
                                                              GERARDO RANGEL
14
15   Dated: May 13, 2011                                            /s/ Timothy E. Warriner
                                                              TIMOTHY E. WARRINER
16                                                            Attorney for Defendant
                                                              RAFAEL AGUILAR
17
18   Dated: May 13, 2011                                            /s/ Erin J. Radekin
                                                              ERIN J. RADEKIN
19                                                            Attorney for Defendant
                                                              JOSE COBIAN
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 1                                                   ORDER
 2          For the reasons set forth in the accompanying stipulation and declaration of counsel, the
 3   status conference of May 16, 2011 at 8:30 a.m. is VACATED and the above-captioned matter is set
 4   for status conference on June 6, 2011 at 8:30 a.m. The court finds excludable time in this matter
 5   through June 6, 2011 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to allow continuity of
 6   counsel and to allow reasonable time necessary for effective defense preparation. For the reasons
 7   stipulated by the parties, the Court finds that the interest of justice served by granting the request
 8   outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
 9   3161(h)(7)(A), (h)(7)(B)(iv).
10   IT IS SO ORDERED.
11   Dated: May 13, 2011
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